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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORE.

SARATOGA BLACK LIVES MATTER, INC.;
ALEXUS BROWN;

MOLLY B. DUNN;

GABRIELLE C. ELLIOT;

ALEXIS A. FIGUEREO;

MARCUS FILIEN;
CHANDLER M. HICKENBOTTOM; Index No.: 1:24-ev-865
SAMIRA K. SANGARE; (TIM/CFH)

TIEMOGO J. SANGARE;
Plaintiffs,
-against-

THE CITY OF SARATOGA SPRINGS;

JOHN F, SAFFORD, Mayor of the City of Saratoga Springs,
sued in his individual and official capacity;

MEG KELLY, former Mayor of the City of Saratoga Springs,
sued in her individual capacity;

TIM COLL, Commissioner of Public Safety of the City of
Saratoga Springs, sued in his official capacity;

ROBIN DALTON, former Commissioner of Public Safety of
the City of Saratoga Springs, sued in her individual

capacity;

JAMES MONTAGNINO, former Commissioner of Public
Safety of the City of Saratoga Springs, sued in his individual
capacity;

TYLER McINTOSH, Chief of Police of the City of Saratoga
Springs, sued in his individual and official capacity;

SHANE L. CROOKS, former Chief of Police of the City of
Saratoga Springs, sued in his individual capacity;

JOHN T. CATONE, former Assistant Chief of Police of the
City of Saratoga Springs, sued in his individual

capacity;

ROBERT JILLSON, Lieutenant in the City of Saratoga
Springs Police Department, sued in his individual and official
capacity;
TIMOTHY SICKO, Sergeant in the City of Saratoga Springs
Police Department, sued in his individual and official capacity,
ANDREW STREIM, Sergeant in the City of Saratoga
Springs Police Department, sued in his individual and official

capacity;

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PAUL VEITCH, Sergeant in the City of Saratoga Police
Department, sued in his individual and official capacity;
MEGAN DAVENPORT, Investigator in the City of Saratoga
Springs Police Department, sued in her individual and official
capacity;

JOHN GUZEK, Investigator in the City of Saratoga Springs
Police Department, sued in his individual and official capacity;
MATTHEW MILLER, Investigator in the City of Saratoga
Springs Police Department, sued in his individual and official
capacity;

STEVEN RESIDE, Investigator in the City of Saratoga
Springs Police Department, sued in his individual and official
capacity;

GLENN A. BARRETT, police officer in the City of Saratoga
‘Springs Police Department, sued in his individual and official
capacity;

WILLIAM COYNER, police officer in the City of Saratoga
Springs Police Department, sued in his individual and official
capacity;

YEVGENTY KHUTORYANSKITY, police officer in the City
of Saratoga Springs Police Department, sued in his individual
and official capacity; and

“JOHN DOES” 1 -100, whose identities and the precise
numbers of which are not known by plaintiffs, but who are
intended to represent City of Saratoga Springs police officers
or officials who either directly participated in violating the
constitutional rights of one or more of the plaintiffs herein
during the period of July 14, 2021 to the present, as described
herein and/or who failed to intervene to stop or prevent the
violation of the rights of one or more of the plaintiffs during
this period, and who are sued in their individual and official
capacities,

Defendants.

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MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS FIRST

AMENDED COMPLAINT

Dated: May 5, 2025

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BURKE, SCOLAMIERO & HURD, LLP

UMAND, ESQ.
Attorneys for Defendant Tim Coll

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Our File No. 103.311

TO: All Parties via PACER

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PRELIMINARY STATEMENT

Defendant Tim Coll, Commissioner of Public Safety of the City of Saratoga
Springs, sued in his official capacity, submits this Memorandum of Law in support of his
motion pursuant to FRCP 12(b)(6) to dismiss the plaintiffs’ First Amended Complaint as
against him and granting such other and further relief as the Court may deem just and
proper. It is respectfully submitted that the First Amended Complaint is insufficient to
sustain plaintiffs’ claims of violations of their constitutional rights as against defendant
Coll.

Plaintiffs bring this action against defendants including Tim Coll, Commissioner
of Public Safety of the City of Saratoga Springs in his official capacity, asserting six
causes of action (violation of First Amendment rights; unlawful seizures, false and
unlawful arrests, and malicious prosecutions; equal protection; conspiracy; interference
with family relationships; and deprivation of property without due process). (Dkt. 54,
paragraphs 553-“482”).

The First Amended Complaint often asserts allegations against the 21 defendants
collectively. However, it is clear that the only real allegations against defendant Coll
pertain to his alleged involvement in charges being filed against plaintiff Figuereo in May
2024. (Dkt 54, paragraphs 17, 22, 528, 529, 530, 531, 534). Further, though the First
Amended Complaint also asserts ongoing wrongdoing by all defendants from July 14,
2021 to present, it is clear that defendant Coll did not take office until January 1, 2024
and therefore cannot bear liability prior to that date. (Dkt. 54, paragraphs 1, 54). Even as
to the alleged involvement of defendant Coll, at most he is alleged to have been part of

the decision making to have charges issued against plaintiff Figuereo based on violations

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of the City’s Code and plaintiffs conceded the factual basis for those charges. (Dkt. 54,
paragraphs 17, 22, 498, 522, 528, 529, 530, 531, 534).

For the reasons more fully set forth below, it is respectfully submitted that the
allegations of the First Amended Complaint are insufficient as to defendant Coll and the
action should be dismissed as to him.

STATEMENT OF FACTS

Plaintiffs bring this action alleging that their constitutional nights have been
violated by the “defendants” beginning on July 14, 2021 and continuing through to the
present. (Dkt. 1, paragraph 1). Following initial motion practice, plaintiffs have filed a
First Amended Complaint which makes the same allegations against defendant Coll as
the initial Complaint. (Dit. 54). The named plaintiffs in this matter are Saratoga Black
Lives Matter, Inc., Alexus Brown, Molly B. Dunn, Gabrielle C. Elliott, Alexis A.
Figuereo, Marcus Filien, Chandler M. Hickenbottom, Samira K. Sangare, and Tiemogo J.
Sangare. Not all of these individual plaintiffs are African-American. (Dkt. 54, paragraph
20). As it pertains to defendant Coll, plaintiffs correctly allege that he did not take office
as the Commissioner of Public Safety of the City of Saratoga Springs until January 1,
2024. (Dkt. 54, paragraph 54). It seems that plaintiffs concede that defendant Coll had
no involvement in any of the alleged wrongdoing until that time. (Dkt. 54, paragraph
87). The first allegation of wrongdoing against defendant Coll appears at paragraph 17
wherein it is alleged that there are pending charges against plaintiff Alexis A. Figuereo
filed by or at the instigation or direction of defendants including defendant Coll. (Dkt.
54, paragraph 17). From the allegations of paragraph 22, it appears that those charges

were “’organizing’ ‘parades’ or ‘demonstration’ on two occasions in May 2024 without

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advance filing of ‘demonstration declarations’ or ‘Parade” permits”. (Dkt 54, paragraph
22).

Additionally, plaintiffs only allege wrongdoing by defendant Coll as it pertains to
plaintiff Figuereo. (Dkt. 54, paragraphs 17, 22, 528, 529, 530, 531, 534). As to his
actions, it is only alleged that defendant Coll made decisions in concert with defendant
City of Saratoga Springs, Mayor John F. Safford, and Police Chief McIntosh to charge
plaintiff Figuereo with violations of City Code provisions. (Id.). There is no other
allegation of specific wrongdoing or personal involvement of defendant Coll as against
plaintiff Figuereo or any other named plaintiff. Mr. Figuereo is alleged to be African
American and a member and leader of Saratoga BLM. (Dkt. 54, paragraph 45). Saratoga
Black Lives Matter, Inc. is alleged to be a not-for-profit corporation, (Dkt. 54, paragraph
36).

As to specific factual allegations, the majority of the Complaint is dedicated to the
protests and events prior to January 2024, of which there is correctly no allegation
defendant Coll was involved. (Dkt 54, paragraphs 77-482). As it pertains to the events
in May 2024, plaintiffs allege that no advanced notice was provided to the City and there
was no permission sought from the City to hold a rally. (Dkt. 54, paragraph 498). It is
alleged that on May 20, 2024 defendant City acting through defendant Streim prepared
two accusatory instruments related to a May 1, 2024 rally charging plaintiff Figuereo
with violation Saratoga Spring City Ordinance 98-1B (“no one can ‘hold or cause to be
held any demonstration without first filmg a declaration...’ with the City in advance”)

and Saratoga Springs City Ordinance 151-5A (which provides “applications for ‘parades’

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should be filed with the Commissioner of Accounts.”). (Dkt. 54, paragraph 515). No
other plaintiff is alleged to have been charged relative to the May 1, 2024 rally.

Saratoga Springs City Ordinance, Chapter 98 Demonstrations, Article I General

Provisions, 98-1B sets forth:

No person, corporation, partnership or other entity shall hold or cause to
be held any demonstration without first filing a declaration where required
by this chapter. Persons holding a permit for a parade, as that term is
defined in Chapter 151 of the City Code, shall not be required to file a
declaration under this chapter.

“Demonstration” is defined as “a display, by 25 or more persons, in a public place
that is intended to attract public attention.” 98-1A.
Section 98-12 Penalties for offenses states:

Any person or other legal entity who violates any of the provisions of this
chapter shall be subject to the penalties set forth in Chapter 1, General
Provisions, Article WI, General Penalty, of this Code. Both the Police
Department and Code Administration shall have the authority to enforce
the provisions of this chapter and to issue appearance tickets for violations
thereof.

As to those penalties, it states:

Unless otherwise specifically provided in this Code, any person who

violates any provision of this Code shall, upon conviction thereof, be

subject to a fine not exceeding $250 or imprisonment for a term not

exceeding 15 days, or both. Each day that such violation continues shall

constitute a separate offense.

Saratoga Springs City Ordinance, Chapter 151 Parades, Article IT Permits, 151-5
Application, 151-5A sets forth:

Applications for such permit shall be made to the Commissioner of
Accounts on the forms provided by the Commissioner.

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“Parade” is defined as “any procession of any kind in a public place in the City of
Saratoga Springs that is intended to attract public attention and that does not comply with
normal traffic regulations and control.” 151-1A. Penalties for this provision are:

Any person or other legal entity who violates any of the provisions of this

chapter shall be subject to the penalties set forth in Chapter 1, General

Provisions, Article HI, General Penalty of this Code. Both the Police

Department and Code Administration shall have the authority to enforce

the provisions of this chapter and to issue appearance tickets for violations

thereof.

It is alleged that a press conference and march was then organized and conducted
on May 25, 2024. (Dkt. 54, paragraph 520). Plaintiffs allege that no advanced notice
was provided to the City and there was no permission sought from the City to hold the
press conference and march. (Dkt. 54, paragraph 522). It is alleged that on May 29,
2024, defendant City, acting through defendant Reside cause an accusatory instrument
and appearance ticket to be prepared charging plaintiff Figuereo with violation Saratoga
Springs City Ordinance 98-18 relating to the May 25, 2024 march. (Dkt. 54, paragraph
523). There is no allegation that these charges against plaintiff Figuereo caused him
physical injury. There has not yet been a resolution of those two sets of charges. (Dkt.
54, paragraph 527).

For the reasons set forth below, this Court should grant defendants’ motion to
dismiss pursuant to FRCP 12(b)(6} and dismiss the entirety of plaintiffs’ First Amended

Complaint.

STANDARD OF REVIEW

To survive a FRCP 12(b}(6) motion, “a complaint must contain sufficient factual
matter, accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v.

Igbal, 556 U.S. 662 (2009). The pleading of specific facts is not required; rather a

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complaint need only give the defendant “fair notice of what the claim is and the grounds
upon which it rests.” Erickson v. Pardus, 551 U.S. 89 (2007). “A pleading that offers
‘labels and conclusion’ or a “formulaic recitation of the elements of a cause of action will
not do.’” Asheroft, supra. (quoting Bell Atlantic Corp v. Twombly, 550 U.S. 544 (2007)).
“Nor does a complaint suffice if it tenders ‘naked assertion{s]’ devoid of ‘further factual
enhancement’.” /d. “Factual allegations must be enough to raise a right to relief above
the speculative level, on the assumption that all the allegations in the complaint are true
{even if doubtful in fact).” Bell Atlantic Corp v. Twombly, supra. The plausibility
standard requires “more than a sheer possibility that defendant has acted unlawfully”.
Ashcroft, supra.

In deciding a motion pursuant to Rule 12(b)(6), the Court must liberally construe
the claims, accept all factual allegations in the complaint as true, and draw all reasonable
inferences in favor of the plaintiff. Goldstein v. Pataki, 516 F.3d 50, 56 (2d Cir. 2008);
Chambers v. Time Warner Inc., 282 F.3d 147, 152 (2d Cir. 2002); see also Ruston v.
Town Board for Town of Skaneateles, 610 F.3d 55, 59 (2d Cir, 2010). (“When there are
well-pleaded factual allegations, a court should assume their veracity and then determine
whether they plausibly give rise to an entitlement relief.”). However, this point is
“inapplicable to legal conclusions”. “While legal conclusions can provide the framework
of a complaint, they must be supported by factual allegations.” Ashcroft, supra at 1950;
see also Ruston, supra (“A court can choose to begin by identifying pleadings that,
because they are no more than conclusions, are not entitled to the assumptions of truth.”).

For the reasons that follow, the First Amended Complaint should be dismissed

pursuant to FRCP 12(b)(6).

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ARGUMENT

POINT I

THE COMPLAINT SHOULD BE DISMISSED AS TO DEFENDANT COLL
BECAUSE THE COMPLAINT FAILS TO STATE A CAUSE OF ACTION
AGAINST HIM

At the outset, it should be noted that the only claim against defendant Coll is by
plaintiff Figuereo pertaining to the charges brought against him in May 2024. No other |
individual plaintiff makes any allegation of wrongdoing against defendant Coll. Should
plaintiffs’ counsel in response argue that the six causes of action are claimed by all
plaintiffs against defendant Coll, then a separate argument will be made the there is a
failure to allege personal involvement of defendant Coll in those claimed constitutional
deprivations. A further argument will be made as to the lack of standing of Saratoga
Black Lives Matter, Inc. Should plaintiffs’ counsel in response argue that defendant Coll
bears liability for events that pre-date his taking office on January 1, 2024, the same is
obviously flawed and a separate argument will be made in reply. For purposes of this
motion, it is assumed, based on the allegations of the First Amended Complaint, that the
basis for the six causes of action of plaintiff Figuereo against defendant Coll are the
charges brought against plaintiff Figuereo in May 2024. As to those allegations, the First
Amended Complaint should be dismissed against defendant Coll for failure to state a
cause of action.

A. Plaintiff Figuereo has failed to set forth sufficient facts to establish a violation of
his First Amendment rights as against defendant Coll.

The protections of the First Amendment, while broad, are not absolute. Papineau

v. Parmley, 465 F.3d 46 Qd Cr. 2006). In order to state a retaliation claim, a citizen must

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show (1) he has an interest protected by the First Amendment; (2) defendants’ actions
were motivated or substantially caused by his exercise of that right; and (3) defendants’
actions effectively chilled the exercise of the right. Curley v. Village of Suffern, 268 F.3d
65 (2d Cir. 2001). The plaintiff must show that the defendants’ actions had some actual,
non-speculative chilling effect on his speech. Colombo v. O’Connell, 310 F.3d 115 (2d
Cir. 2002).

The factual allegations of the Complaint belie plaintiffs First Amendment claim.
First, plaintiff Figuereo has a history of arrests for more substantial criminal charges than
those allegedly levied against him at the “instigation” of defendant Coll. Plaintiff
Figuereo was arrested on September 7, 2021 pursuant to a disorderly charge arising from
the July 14, 2021 protest and July 2021 City Council meetings. (Dkt. 54, paragraphs
343-351). This had nothing to do with defendant Coll. Per the allegations of the First
Amended Complaint, plaintiff Figuereo also spoke during a City Council meeting on
April 4, 2023 and again was charged with disorderly conduct. (Dkt. 54, paragraph 453).
Once again, this had nothing to do with defendant Coll.

The charges that plaintiff Figuereo alleges defendant Coll was involved with are
those pertaining to violations of the Saratoga Springs City Ordinances which carry
penalties of a fine not exceeding $250 or imprisonment for no more than 15 days. It can
hardly be claimed that a penalty of $250 has any chilling effect of plaintiff Figuereo as he
continues to hold and participate in rallies, protests, and marches. Further, there is no fee
charged for a demonstration declaration. Saratoga Springs City Ordinance 98-5. There is
no statement or allegation that his charges has been resolved; to the contrary, per the

Complaint, the charges are pending. (Dkt. 54, paragraph 527). Further, the charges

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pertain to administrative issue of providing notice to the City of any planned
demonstration or parade, There is nothing in the provisions cited that discusses the
restrictions on content. There is nothing to suggest that had plaintiff Figuereo provided
said notice, permit would not have been granted. Indeed, that is not even alleged.
Simply stated, plaintiff Figuereo should have applied fer permits and did not and was
charged accordingly. Plaintiff Figuereo cannot have it both ways that he is a leader in the
Black Lives Matter organization and that he should not be singled out for failing to obtain
permits. The actions of defendant Coll, as alleged, in deciding to levy such charges is not
a violation of plaintiff Figuereo’s First Amendment rights. As such, this cause of action
against defendant Coll should be dismissed.

To the extent that plaintiff Figuereo now claims his First Amendment rights were
violated because the two ordinances are “overbroad, vague, and permit effectively
unbridled discretion without giving notice of what is illegal”, this claim too should fail.
It is unclear if plaintiff Figuereo alleges that the two ordinances are vague on their face or
as applied so both arguments will be addressed. First, facial challenges are generally
disfavored. Dickerson v. Napolitano, 604 F.3d 732 (2d Cir. 2010). Further, plaintiff
Figuereo challenges the ordinances on his own behalf and not on behalf of other parties
not before the court. As such, it would appear plaintiff Figuereo’s argument is more
properly analyzed under the “as applied” standard. “As applied” challenges require any
analysis of the case to determine whether the application of the ordinance deprived the
individual to whom it was applied of a protected right. Genco Importing, Inc. v. City of

New York, 552 F. Supp. 2d 371 (S.D.N.Y. 2008).

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Here, plaintiff Figuereo went forward with the demonstrations and marches.
There is no allegation that he attempted to apply for the permit and was overburdened by
the requirements, There is no allegation that he attempted to apply for the permit but was
denied for failure to comply with some overly complicated process. There is no
allegation that had he applied, he would have been denied based on the content of the
anticipated demonstration, rally, march. Plaintiff Figuereo attempts to bootstrap
allegations against defendant Montagnino against defendant Coll. There is simply a
failure to allege any wrongdoing on the part of defendant Coll.

Further, the ordinances seek to provide protection to the public. The prohibited
activities include carrying “noxious material” but also prohibits alcoholic beverages,
explosives, fencing material, flammable or combustible liquids or gases, gas masks,
injury, interference with emergency services, projectile launchers, and strong acid or base
chemicals. Saratoga Springs City Ordinance 151-3. The First Amendment does not
guarantee an absolute right “to anyone to express their views ...any place, at any time,
and in any way they want.” Genco at 379. “to the contrary, municipalities may enact
time, place, and manner restrictions that reasonably limit constitutionally protected
expression provided that the restrictions (1) are content-neutral, (2) are narrowly tailored
to serve a significant governmental interest, and (3) leave open ample alternative
channels for communication.” /d. These ordinances do just that and plaintiff Figuereo

simply failed to adhere to the requirements.

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B. Plaintiff Figuereo has failed to set forth sufficient facts to establish unlawful

seizure. false and unlawful arrests, and malicious prosecution as against defendant
Coll.

To begin, there is no allegation of a “seizure”, unlawful or otherwise, of plaintiff
Figuereo by defendant Coll. It is only an allegation of appearance tickets having been
served on plaintiff Figuereo. Non-felony appearance tickets issued for violations of
codes are not a “seizure” under the Fourth Amendment. Burg v. Gosselin, 591 F.3d 95
(2d Cir. 2010).

To establish a cause of action for false arrest, the plaintiff must show that (1) the
defendant intended to confine the plaintiff, (2) the plaintiff was conscious of the
confinement, (3) the plaintiff did not consent to the confinement and (4) the confinement
was not otherwise privileged. Ackerson v. City of White Plains, 702 F.3d 15, 19 (2d Cir.
2012); Hulett v. City of Syracuse, 253 F. Supp. 3d 462, 494 (N.D.N.Y. 2017). Probable
cause to arrest constitutes a complete defense to a claim for false arrest. Corbett v.
Dwyer, 345 F. Supp. 2d 237 (N.D.N.Y. 2004). “An officer has probable cause to arrest
when he or she has ‘knowledge or reasonably trustworthy information of facts and
circumstances that are sufficient to warrant a person of reasonable caution in the belief
that the person to be arrested has committed or is committing a crime’.” Jaegly v. Couch,
439 F.3d 149, 152 (2d Cir. 2006). Probable cause is based on whether the facts known
by the arresting officer at the time of the arrest objectively provided probable cause to
arrest. Jd. The inquiry is not necessarily based upon the offense actually invoked by the
arresting officer but upon whether the facts known at the time objectively provided

probable cause to arrest. Id.

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Again, the First Amended Complaint belies this claim. It is repeatedly alleged
that plaintiff Figuereo did not provide advanced notice or seek permission for any rally,
press conference, demonstration, protest, march, or any other public gathering. (Dkt. 54,
paragraphs 498, 522). This is clearly in violation of the Saratoga Springs City Ordinance.
There is therefore probable cause for defendant Coll to have believed it appropriate to
decide to have these charges levied against plaintiff Figuereo.

To establish a claim for malicious prosecution, the plaintiff must prove (1) the
initiation or continuation of a criminal proceeding against plaintiff; (2) termination of the
proceeding in the plaintiff s favor; (3) the lack of probable cause for commencing the
proceeding; and (4) actual malice as a motivation for defendant’ s actions. Merritt v.
Dunlap, 2005 WL 3601645 (N.D.N.Y. 2005).

This claim is premature. As alleged, the charges against plaintiff Figuereo as
“instigated” by defendant Coll are pending. Therefore, the second element cannot be
determined at this time. Further, as noted above, there is probable cause for the issuance
of appearance tickets on the charges. Plaintiff Figuereo admittedly violated Saratoga
Springs City Ordinance provisions and has received charges on those violations.

As such, it is respectfully submitted that the Court should dismiss the second
cause of action as against defendant Coll.

C. Plaintiff Figuereo has failed to set forth sufficient facts to establish a violation of
his rights of equal protection as by defendant Coll.

The Equal Protection Clause of the Fourteenth Amendment requires the
government to treat all similarly situated individuals alike. Newman v. SUNY Broome

Community College, 2021 U.S. Dist. LEXIS 126037 (N.D.N.Y. 2021). Plaintiff must

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allege that similarly situated persons have been treated differently. McDaniel v. Mertens,
2022 U.S. Dist. LEXIS 21691 (N.D.N.Y. 2022).

For a selective enforcement claim in order to “prevail on such a claim, a plaintiff
must prove that ‘(1) the person, compared with others similarly situated, was selectively
treated, and (2) the selective treatment was motivated by an intention to discriminate on
the basis of impermissible considerations, such as race or religion, to punish or inhibit the
exercise of constitutional rights, or by a malicious or bad faith intent to injure the
person.’” Hu v. City of New York, 927 F.3d 81, 91 (2d Cir. 2019). Claims based on racial
discrimination require proof of both disparate treatment and racial animus. Id.

The factual allegations pertaining to the May 2024 charges against plaintiff
Figuereo pertain only to the First Amendment claim. (Dkt. 54, paragraphs 529-531, 534).
There is no claim that defendant Coll was motivated by racial animus. The allegations of
“chilling effect” speak only to the First Amendment claim and not any equal protection
claim. The allegations are simply insufficient to substantiate this claim against defendant
Coll and this claim against this defendant should be dismissed.

D. Plaintiff Figuereo has failed to set forth sufficient facts to establish a conspiracy
to deprive him of equal protection as by defendant Coll

Under 18 U.S.C. §241 "Conspiracy against [Civil] Rights" Plaintiffs must be able
to prove that "two or more persons conspire[d] to injure, oppress, threaten, or intimidate
any person in any State, Territory, Commonwealth, Possession, or District in the free
exercise or enjoyment of any right or privilege secured to him by the Constitution or laws
of the United States, or because of his having so exercised the same; or If two or more
persons go in disguise on the highway, or on the premises of another, with intent to

prevent or hinder his free exercise or enjoyment of any right or privilege so secured.”

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Civil rights conspiracy statute language requiring intent to deprive of equal
protection or equal privileges and immunities means that there must be some racial, or
perhaps otherwise class-based, invidiously discriminatory animus behind the alleged
conspirators' action, and the "conspiracy" must aim at the deprivation of equal enjoyment
of rights secured by law to all. See, 42 U.S.C.A. § 1985@3).

For the reasons set forth i subparagraph C, the allegations are insufficient to
substantiate this claim against defendant Coll and this claim against this defendant should
be dismissed.

E. Plaimtiff Figuereo bas failed to set forth sufficient facts to establish interference
with family relationships as by defendant Coll.

The allegations in this claim do not pertain to the charges against plaintiff
Figuereo in May 2024 and do not pertain to defendant Coll. As such to the extent the
claim is made against “defendants” in the First Amended Complaint, it should not be
interpreted to pertain to defendant Coll. Should plaintiffs argue otherwise, the allegations
of the Complaint are insufficient as against defendant Coll to establish that he interfered
with plaintiff Figuereo’s family relationships and this claim against defendant Coll
should be dismissed.

F. Plaintiff Figuereo has failed to set forth sufficient facts to establish a deprivation
of property without due process as by defendant Coll.

The allegations in this claim pertain to a seizure of plaintiff Figuereo’s cell phone
on September 7, 2021. There is no allegation that defendant Coll was involved. Indeed,
plaintiffs concede in their allegations that defendant Coll did not take office until January
1, 2024. To the extent that this claim is made against “defendants” in the Complaint, it

should not be interpreted to pertain to defendant Coll. Should plaintiffs argue otherwise,

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the allegations of the First Amended Complaint are insufficient as against defendant Coll
to establish that he deprived plaintiff Figuereo of property without due process and this
claim against defendant Coll should be dismissed.

POINT H

THE FIRST AMANDED COMPLAINT SHOULD BE DISMISSED AS TO
DEFENDANT COLL AS HE IS ENITLED TO QUALIFIED IMMUNITY

Qualified immunity shields government officials whose conduct “does not violate
clearly established statutory or constitutional rights of which a reasonable person would
have known.” Harlow vy. Fitzgerald, 457 U.S. 800 (1982). The scope of qualified
immunity is broad, and it protects “all but the plainly incompetent or those who
knowingly violate the law”. Malley v. Briggs, 475 U.S. 335 (1986). A qualified
immunity defense is established where “(a) the defendants’ action did not violate clearly
established law, or (b) it was objectively reasonable for the defendant to believe that his
action did not violate such law.” Tierney v. Davidson, 133 F3d 189 (2d Cir. 1998).
Government officials performing “discretionary function generally are shielded from
liability for civil damages insofar as their conduct does not violate clearly established
statutory or constitutional rights of which a reasonable person would have known”.
Looney v. Black, 702 F3d (2d Cir 2012).

The only allegation against defendant Coll is that he was involved in a decision to
bring charges against plaintiff Figuereo for violating provisions of the Saratoga Springs
City Ordinance. By the allegations of the First Amended Complaint, plaintiff Figuereo
admitted to having violated these provisions. Further, the ordinances as applied are not

overbroad or vague for reasons detailed above. As such, defendant Coll should be

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granted qualified immunity as it was objectively reasonable to believe that it was lawful
to issue appearance tickets against someone who admittedly violated the law.
POINT Hl

THE COURT SHOULD DISMISS THE CLAIMS OF PUNITIVE DAMAGES

“Punitive damages may be awarded when the plaintiff has shown that defendant's
conduct was ‘motivated by evil motive or intent, or when it involves callous indifference
to federally protected rights of others.” ” Picciane v. McLoughlin, 723 F. Supp. 2d 491,
506 (N.D.N.Y. 2010).

Plaintiffs have failed to provide any basis whatsoever to justify an award of
punitive damages against defendant Coll. Even if plaintiffs have set forth viable causes
of actions, the pleadings against defendant Coll do not justify an award of punitive
damages. There is no allegation that defendant Coll was motivated by evil or ill intent.
Respectfully, should the Court find plaintiffs have sufficiently plead causes of action
against defendant Coll, the Court should nonetheless dismiss the claim for punitive

damages as there is no basis for the same.

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CONCLUSION

WHEREFORE in light of the foregoing, defendant Coll respectfully requests
that the Court grant defendant Coll’s motion in its entirety and dismiss the First Amended

Complaint, together with such other and further relief as the Court deems just and proper

Dated: May 5, 2025

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